Case: 4:16-cr-00159-AGF Doc. #: 161 Filed: 04/04/18 Page: 1 of 2 PageID #: 1061



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
              Plaintiff,                         )
                                                 )
v.                                               )
                                                 )    No. S1-4:16CR00159 AGF
                                                 )
LOREN ALLEN COPP,                                )
a/k/a “Sensei,”                                  )
                                                 )
              Defendant.                         )

      MOTION IN LIMINE TO EXCLUDE EVIDENCE PURSUANT TO RULE 412

       COMES NOW the United States of America, by and through its attorneys, Jeffrey B.

Jensen, United States Attorney for the Eastern District of Missouri, and Jennifer A. Winfield and

Colleen C. Lang, Assistant United States Attorneys for said District, and files this Motion in

Limine to exclude evidence pursuant to Rule 412 of the Federal Rules of Criminal Procedure.

       The Government requests a Motion in Limine to Exclude Evidence of Victims’ Alleged

Other Sexual Behavior or Conduct and submits the following motion and memorandum pursuant

to Fed. R. Evid. Rule 412 to exclude any evidence that the defendant would seek to introduce at

trial regarding: 1) any evidence that “Jane Doe 1,” “Jane Doe 3” and “Jane Doe 5,” were

predisposed to taking lewd and lascivious photos of themselves; (2) any evidence of other sexual

conduct of “Jane Doe 1,” “Jane Doe 3” and “Jane Doe 5,” such as prior sexual partners, and (3)

details of prior sexual activity or abuse and allegations of or any details about of any unrelated

sexual assaults and abuse against the victims by others.

       The Government anticipates that the defendant may attempt to elicit such evidence at


                                                 1
Case: 4:16-cr-00159-AGF Doc. #: 161 Filed: 04/04/18 Page: 2 of 2 PageID #: 1062



trial, based on other evidence gathered in this investigation. Such evidence of sexual behavior

of the victims, however, is inadmissible under Fed. R. Evid. 412 because it is wholly irrelevant

to the charges in this case and serves no purpose other than for the defendant to prejudice the

Court and humiliate the victims. Any attempt by the defendant to investigate these claims

inappropriately and unnecessarily invades the privacy of these victims and would result in the

type of embarrassment that Fed. R. Evid. 412 was intended to avoid which functions as a federal

rape shield law. Moreover, the exclusion of such evidence does not violate any rights that the

defendant has to a fair trial.

        For the foregoing reasons, the Government respectfully requests that the Court admit the

evidence outlined above pursuant to Rule 412.

                                              Respectfully submitted,
                                              JEFFREY B. JENSEN
                                              United States Attorney

                                              s/ Jennifer A. Winfield
                                              JENNIFER A. WINFIELD, 53350MO
                                              Assistant United States Attorney
                                              111 S. 10th Street, Rm. 20.333
                                              St. Louis, Missouri 63102
                                              (314) 539-2200

                                 CERTIFICATE OF SERVICE
        I hereby certify that on April 4, 2018, the attached was filed electronically with the Clerk
of the Court and served by way of this Court's Electronic Notification System upon all counsel of
record, and mailed to defendant Loren Copp at the St. Charles County Adult Detention Center,
301 N. Second Street, St. Charles, MO 63301.

                                              s/ Jennifer A. Winfield
                                              JENNIFER A. WINFIELD, 53350MO
                                              Assistant United States Attorney


                                                 2
